     Case 1:14-cr-00226-DAD-BAM Document 100 Filed 04/14/17 Page 1 of 2


 1    HEATHER E. WILLIAMS, CA Bar #122664
      Federal Defender
 2    MEGAN T. HOPKINS, CA Bar #294141
      Assistant Federal Defender
 3    Designated Counsel for Service
      2300 Tulare Street, Suite 330
 4    Fresno, CA 93721-2226
      Telephone: (559) 487-5561
 5    Fax: (559) 487-5950
 6    Attorneys for Defendant
      ESTELO CHAIDEZ-LEON
 7
 8                                     IN THE UNITED STATES DISTRICT COURT
 9                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11    UNITED STATES OF AMERICA,                         )   Case No. 1:14-cr-0226 DAD
                                                        )
12                            Plaintiff,                )   MOTION TO WITHDRAW DEFENDANT’S
                                                        )   MOTION TO ENFORCE PLEA
13    vs.                                               )   AGREEMENT AND VACATE MOTION
                                                        )   HEARING SET FOR 4/17/2017; ORDER
14    ESTELO CHAIDEZ-LEON,                              )
                                                        )   Date: May 1, 2017
15                           Defendant.                 )   Time: 10:00 a.m.
                                                        )   Judge: Hon. Dale A. Drozd
16                                                      )
                                                        )
17
18    TO:      PHILLIP A. TALBERT, ACTING UNITED STATES ATTORNEY, AND
               KATHLEEN SERVATIUS, ASSISTANT UNITED STATES ATTORNEY,
19             COUNSEL FOR PLAINTIFF:
20             Defendant Estelo Chaidez-Leon, through his counsel of record, Megan T. Hopkins,
21    Assistant Federal Defender, hereby requests of this court to withdraw the Motion to Enforce Plea
22    Agreement and Strike Final PSR filed on March 27, 2017, [court docket No. 97], and to vacate
23    the motion hearing currently scheduled for April 17, 2017, at 10:00 a.m.
24             In light of the latest revisions to the Final PSR, Mr. Chaidez-Leon is prepared to move
25    forward with sentencing on May 1, 2017 and intends to file formal objections and sentencing
26    memoranda in accordance with the schedule set forth in the local rules.
27    ///
28    ///

       CHAIDEZ-LEON / Motion to Withdraw Motion              -1-
       to Enforce Plea Agreement and Strike Final PSR
     Case 1:14-cr-00226-DAD-BAM Document 100 Filed 04/14/17 Page 2 of 2


 1                                                      Respectfully submitted,
 2                                                      HEATHER E. WILLIAMS
                                                        Federal Defender
 3
 4    Date: April 14, 2017                              /s/ Megan T. Hopkins
                                                        MEGAN T. HOPKINS
 5                                                      Assistant Federal Defender
                                                        Counsel for Defendant
 6                                                      ESTELO CHAIDEZ-LEON
 7
 8
 9
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                                                        ORDER
11
               IT IS HEREBY ORDERED that the Motion to Enforce Plea Agreement filed on March
12
      27, 2017, [court docket No. 97] is withdrawn and the April 17, 2017, motion hearing is vacated.
13
      This case remains scheduled for a sentencing hearing on May 1, 2017, at 10:00 a.m.
14
15    IT IS SO ORDERED.
16
          Dated:        April 14, 2017
17                                                          UNITED STATES DISTRICT JUDGE

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       CHAIDEZ-LEON / Motion to Withdraw Motion           -2-
       to Enforce Plea Agreement and Strike Final PSR
